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              UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL                  §       No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION                §
INJURY LITIGATION                         §               MDL No. 2323
                                          §
                                          §         Hon. Anita B. Brody
CLAIMS      FOR    SPID     950011814,    §
950011815,    950011818,    950011819,    §
950011820,    950011821,    950011822,    §
950013154,    950013174,    950013176,    §
950013178,    950013179,    950013223,    §
950013403,    950013520,    950013523,
950013608, 950013171
       MEMORANDUM OF LAW IN SUPPORT OF
 CLASS MEMBERS’ MOTION TO ALTER OR AMEND THE
ORDER THAT THE OBJECTIONS OF THE CLASS MEMBERS
             ARE DENIED [ECF 12001]
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TO THE HONORABLE JUDGE OF THIS COURT:

   Pursuant to Federal Rule of Civil Procedure 59(e), Class Members SPID

950011814, 950011815, 950011818, 950011819, 950011820, 950011821,

950011822, 950013154, 950013174, 950013176, 950013178, 950013179,

950013223, 950013403, 950013520, 950013523, 950013608, and 950013171

(“Class Members”) respectfully request that the Court alter or amend the Court’s

Order Denying their Objections [ECF 12001] to correct a clear error of law and

prevent manifest injustice by remanding the Class Members’ Objections so their

claims can be paid or, in the alternative, by providing an explanation for the Court’s

order.

   Class Members incorporate by reference, and ask the Court to take judicial notice

of, all of the documents considered in resolving their claims by the Claims

Administrator, the Special Master, and this Court, including the briefing and

evidence attached to their objections and to the objections filed by the class

members SPID 950013395 and 950012548 to the Special Master’s decisions

denying their appeals regarding the denials of their claims, all of which the Court

considered in denying Class Members’ objections.




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                              INTRODUCTION

   Class Members bring this motion to alter or amend the Court’s Order Denying

their Objections [ECF 12001] because the Court’s order does not expressly state

that the Court has sustained Class Members’ objection regarding the diagnosis date

and is based on an erroneous conclusion of law and creates manifest injustice by

allowing the Claims Administrator to add an exhumation requirement that is found

nowhere in the settlement agreement.

   First, the Class Members all objected to the denial of their claims based on the

date of their CTE diagnoses. The Court appears to have agreed with that objection

because the Court remanded the Objections of two other class members

(SPID 950013395 and 950012548) who raised that same objection.

   Second, the Class Members all objected to the denial of their claims based on

the assertion that the board-certified neuropathologist who provided the CTE

diagnoses was required to demand that Class Members exhume the Players’ bodies

so brain tissue from the exhumed bodies could be examined. That requirement is

found nowhere in the Settlement Agreement and imposes an onerous (if not

impossible) obligation on Class Members after they chose not to opt out of the

Settlement Agreement that is inconsistent with due process and constitutes an abuse

of discretion.




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                    FACTUAL & PROCEDURAL BACKGROUND

         The Class Members’ claims appear to have been denied because they did not

exhume the family members’ corpses so the board-certified neuropathologist who

provided the CTE diagnoses could confirm his diagnoses by examining brain tissue

from the Players’ exhumed bodies. But the settlement agreement contains no such

requirement.

    I.       The Settlement Requires Class Members to Obtain a CTE
             Diagnosis by a Board-Certified Neuropathologist Without
             Imposing Additional Requirements.

         The settlement agreement this Court initially approved imposed no deadline on

class members seeking to obtain a Qualifying Diagnosis of Death with CTE. See

Settlement as of June 25, 2014, ECF No. 6073-2, § 6.3(f), Exh. B-1, p. 5. The

initially-approved agreement required that class members need only obtain a post-

mortem diagnosis of CTE by a board-certified neuropathologist. Id.

         In July 2014, this Court issued a preliminary approval of the Settlement reached

by Class Counsel and the NFL Parties. See Order Granting Prelim. Approval, ECF

No. 6481. This settlement agreement1 was signed by a representative of the NFL

Parties, counsel for the NFL Parties, Co-Lead Class Counsel, Class Counsel, and



1
         The Court had previously denied the parties’ motion for preliminary approval of an original, previously-
         agreed-to settlement agreement because of concerns that the original settlement agreement might not
         adequately compensate Class Members. Mem. Op. at 10, ECF No. 5657.


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Subclass Counsel. See Settlement Agreement as of June 25, 2014, ECF No. 6073-

2, p. 95.

   The settlement agreement stated that class members could recover settlement

proceeds by obtaining a Qualifying Diagnosis of Death with CTE. See id., § 6.3(f),

Exh. B-1, p. 5. The agreement placed a limit on the Retired NFL Football Players

who could obtain a Qualifying Diagnosis of Death with CTE — allowing “Retired

Football Players who died prior to the date of the Preliminary Approval and Class

Certification Order” to obtain a Qualifying Diagnosis. Id. However, the agreement

imposed no deadline on obtaining a Qualifying Diagnosis. See id. The only

requirement imposed on obtaining a Qualifying Diagnosis was that eligible class

members obtain the diagnosis of Death with CTE from a board-certified

neuropathologist:

       A Qualifying Diagnosis of Death with CTE shall be made only for
       Retired NFL Football Players who died prior to the date of the
       Preliminary Approval and Class Certification Order, through a post-
       mortem diagnosis by a board-certified neuropathologist of CTE.

Id., § 6.3(f), see also id. Exh. B-1, p. 5 (requiring a “post-mortem diagnosis of CTE

made by a board-certified neuropathologist”).

   The NFL Parties sent copies of the settlement agreement as of June 25, 2014 to

the United States Attorney General and to the Attorney General for each state, the

District of Columbia, and the territories. See ECF No. 6501 at 2–3.


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   Similarly, the Summary Notice sent to class members before the deadline to opt

out contained no notice of any diagnosis deadline on class members seeking to

obtain a Qualifying Diagnosis of Death with CTE. See Summary Notice, ECF No.

6093-2. The Summary Notice merely stated that class members could obtain

monetary awards for “certain cases” of CTE “diagnosed after death.” See id. The

Summary Notice contained the opt-out deadline (October 14, 2014) but contained

no similar disclosure of a deadline to obtain a post-mortem diagnosis of Death with

CTE. See id.

   Additionally, the Long-Form Notice sent to class members contained no deadline

on class members seeking to obtain a Qualifying Diagnosis of Death with CTE. See

Long-Form Notice, ECF No. 6093-1. In fact, the Long-Form Notice expressly stated

that a Qualifying Diagnosis could occur at any time until the end of the 65-year term

of the Monetary Award Fund. See id. at 10.

   Like the Summary Notice, the Long-Form Notice contained no notice of any

diagnosis deadline applicable to class members seeking to obtain a Qualifying

Diagnosis of Death with CTE. See id. at 1 (stating that monetary awards were

available for certain cases of CTE “diagnosed after death”), 6 (stating that monetary

awards were available for diagnoses of Death with CTE if the death occurred prior

to July 7, 2014, i.e., the Preliminary Approval Date), 7 (stating that Subclass 1

includes “Retired NFL Football Players who were not diagnosed with . . . Death with


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CTE prior to July 7, 2014, and their Representative Claimants and Derivative

Claimants”).

   Unlike the Summary Notice, the Long-Form Notice expressly represented to

class members that they could obtain a diagnosis of Death with CTE “at any time

until the end of the 65-year term of the Monetary Award Fund”:

       Monetary awards are available for the diagnosis of ALS, Parkinson’s
       Disease, Alzheimer’s Disease, [Neurocognitive Impairment,] or Death
       with CTE (the “Qualifying Diagnoses”). A Qualifying Diagnosis may
       occur at any time until the end of the 65-year term of the Monetary
       Award Fund.

Id. at 10.

   The Long-Form Notice also expressly discussed whether Qualifying Diagnoses

could be obtained for deceased players without disclosing any deadline for obtaining

a diagnosis of Death with CTE. Id. at 14. In that section of the Long-Form Notice,

various other restrictions are noted; however, there is no discussion of any deadline

for obtaining a Qualifying Diagnosis of Death with CTE. See id.

   The Long-Form Notice also provided class members with a link to the website

where they could review the Settlement Agreement as of June 25, 2014. Id. at 15.

As discussed above, this Settlement Agreement, which class members were able to

review prior to the opt out deadline, contained no deadline for obtaining a Qualifying

Diagnosis of Death with CTE. See Settlement as of June 25, 2014, ECF No. 6073-



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2, § 6.3(f), Exh. B-1, p. 5.

   At the end of the Long-Form Notice, class members were provided a list of

important dates. See Long-Form Notice, ECF No. 6093-1, at 20. Nowhere in these

important dates is there any deadline to obtain a Qualifying Diagnosis of Death with

CTE. Id.

   On November 19, 2014, the Court conducted a Fairness Hearing regarding the

Settlement Agreement. See Am. Fairness Hr’g Tr., ECF No. 6463. After the

Fairness Hearing the Court proposed several changes to the Settlement and expressly

instructed the parties that these changes should benefit class members by enhancing

the “fairness, reasonableness, and adequacy of the proposed Class Action Settlement

Agreement.” See Order, Feb. 2, 2015, ECF No. 6479.

   One of the changes ordered by the Court involved expanding the number of class

members who could obtain a Qualifying Diagnosis of Death with CTE. Id.

Specifically, the Court ordered that “Retired NFL Football Players who die between

preliminary approval and final approval of the Settlement” should be included in the

Settlement and able to receive Settlement funds by obtaining a Qualifying Diagnosis

of Death with CTE. Id.

   The Court’s order was clearly intended to benefit the Class by expanding the

number of class members who can recover settlement proceeds, not to benefit the

NFL Parties by removing class members’ ability to recover settlement proceeds. See


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id.; see also Court’s Memorandum, April 22, 2015, ECF No. 6509, p. 22 (“After

reviewing the moving papers, the objections, and the arguments made at the Fairness

Hearing, I proposed several changes to the Settlement that would benefit Class

Members.”)      Nothing in this Court’s order indicated that a new, previously-

undisclosed deadline should be imposed on class members that would prevent them

from obtaining a Qualifying Diagnosis of Death with CTE. Unfortunately, when the

Court’s ordered change was made — expanding the number of class members who

could obtain a Qualifying Diagnosis of Death with CTE — an additional change was

made that surreptitiously took away the ability of class members to obtain a

Qualifying Diagnosis.

 II.    Without Notice and after the Opt Out Deadline, a Change was
        made to the Settlement that Materially Prejudiced Class Members
        and Provided a Significant Benefit to the NFL Parties.

   Without notice to the Court or class members, a change was made to the

Settlement Agreement that attempted to prevent class members from obtaining a

Qualifying Diagnosis of Death with CTE. See Parties’ Joint Amendment, Feb. 13,

2015, ECF No. 6481, § 6.3(f), Exh. B-1, p. 5. This change was made months after

the opt out deadline without notice to class members or the Court. See id.; see also

Court’s Memorandum, April 22, 2015, ECF No. 6509, p. 56.

   Unlike the Settlement Agreement filed in June 2014, which simply required a

post-mortem diagnosis of CTE made by a board-certified neuropathologist, a change

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was included in the midst of otherwise beneficial amendments that imposes an

additional, onerous requirement on class members that prevents them from

recovering settlement proceeds unless they obtained a Qualifying Diagnosis before

May 8, 2015. The change to the relevant language in the Settlement Agreement is

shown below with the added language in bold-faced type and the deleted language

noted:

         A Qualifying Diagnosis of Death with CTE shall be made only for
         Retired NFL Football Players who died prior to the date of the Final
         Preliminary Approval Date and Class Certification Order, through a
         post-mortem diagnosis made by a board-certified neuropathologist of
         CTE prior to the Final Approval Date.

Id., § 6.3(f) (edits shown in bold and strikethrough font), see also id. Exh. B-1, p. 5

(requiring a “post-mortem diagnosis of CTE made by a board-certified

neuropathologist prior to the Final Approval Date”) (added language in bold-faced

type). No notice was sent to class members notifying them of this significant and

prejudicial change to the Settlement.

   The amendments to the Settlement Agreement were filed with the Court on

February 13, 2015. Although “Opt Outs” received notice of these amendments to

the Settlement, See Notice, Mar. 31, 2015, ECF No. 6500, no notice was sent to class

members because the Court was under the impression that all of the changes made

to the Settlement Agreement “improved the deal for Class Members without



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providing any concessions to the NFL Parties.” Court’s Memorandum, April 22,

2015, ECF No. 6509, p. 56. Although the Court’s Memorandum clearly expresses

the Court’s understanding that the changes should have all benefitted class members,

no one notified the Court that, in fact, a change had been made to the Settlement that

prejudiced the rights of class members.

   Thus, both the Court and class members were unaware that changes had been

made to the Settlement that required class members to obtain a Qualifying Diagnosis

of Death with CTE by the Final Approval Date. See id. If the Court had been aware

of these changes, the Court — at a minimum — would have required an additional

round of notice for class members. See id. (“Because these changes improved the

deal for Class Members without providing any concessions to the NFL Parties, an

additional round of notice for Class Members is unnecessary.”). And if Class

Members had been aware of this change, they could have made an informed decision

about whether they could obtain a Qualifying Diagnosis for Death with CTE by this

new deadline or chosen to opt out of the Settlement.

III.    The Court Rendered Judgment in May 2015 and Retained
        Jurisdiction to Enforce the Settlement Agreement.

   Unaware that a material change had been made to the Settlement Agreement that

prevents Class Members from obtaining a Qualifying Diagnosis, the Court signed

an Amended Final Order and Judgment on May 8, 2015. ECF No. 6534, at 1. In



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this Judgment, the Court incorporated both the Settlement Agreement and exhibits

originally filed with the Court on June 25, 2014 and the amendments filed on

February 13, 2015. See id. at ¶ 8. The Court also retained continuing exclusive

jurisdiction over this action, including jurisdiction over all Parties and their counsel

and all Settlement Class Members, to interpret, implement, administer, and enforce

the Settlement Agreement. Id. at ¶ 17.

IV.    In response to Class Members’ Motion to Modify the Amended
       Final Order and Judgment [ECF 8263], the Court instructed Class
       Members to Submit their Claims to the Claims Administrator.

    The Court has previously considered a Motion to Modify the Amended Final

Order and Judgment [ECF 8263] and denied the motion without prejudice to a

consideration of the issues in that motion at a later time.2 In that motion, Class

Members brought the Court’s attention to the fact that although the Original

Settlement Agreement contained no deadline for obtaining a Death with CTE

Diagnosis, language appears to have been surreptitiously added to the Amended

Settlement Agreement that could be read to have added a diagnosis deadline without

notice to the Court or to the class members.3 The motion sought relief under both

Rule 60 and the Court’s inherent authority to implement the settlement by amending


2
    See Order [ECF 8557]

3
    Motion to Modify [ECF 8263]



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the Court’s judgment.4

     The Court denied the motion without prejudice and stated that before it would

consider the “extraordinary action of modifying the Settlement Agreement,” class

members must first submit a claim to the Claims Administrator.5

    V.     Class Members Obtained CTE Diagnoses and Submitted their
           Claims to the Claims Administrator. Those Claims were Wrongly
           Denied.

     Class Members submitted their claim packages, and each claim package

included a post-mortem diagnosis of Chronic Traumatic Encephalopathy (“CTE”)

made by a board-certified neuropathologist. Class Member’s claim package also

included documentation showing that the Player died prior to April 22, 2015.6

     As the Court is aware from reviewing the claim information, despite the

documentation in the Class Members’ claim packages, the Claims Administrator

denied the claims because (1) diagnosis date, i.e., the board-certified

neuropathologist’s CTE diagnoses were not dated on or before April 22, 2015 and

(2) confirmation of diagnosis, i.e., the claim packages did not show that the board-

certified neuropathologist confirmed the CTE diagnoses by exhuming the Players’



4
     Id.

5
     Order [ECF 8557]

6    Id.



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bodies and examining the exhumed bodies’ brain tissue.

   Class Members timely appealed the Claims Administrator’s Notice of Denial of

Monetary Award Claim challenging the two conclusions of law in the Notice

regarding the diagnosis date (class members 950013395 and 950012548 made this

same challenge) and the “confirmation” requirement. The Special Master denied

the Class Members’ appeals in September 2019, and Class Members timely filed

objections with this Court.

   On February 24, 2023, this Court denied the Class Members’ objections. [ECF

12001] In that same order, the Court granted the objections of two other class

members who had also raised an identical objection based on the diagnosis date.

Unlike Class Members, those two other class members did not have their claims

denied on the second ground (i.e., confirmation of diagnosis).




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                       ARGUMENT & AUTHORITIES

 I.      The Court should amend its order to clearly explain that the Class
         Members’ objection regarding the diagnosis date is sustained.

      In their objections to this Court, Class Members pointed out that the Claims

Administrator had committed a legal error by denying Class Members’ claims based

on the date of the CTE diagnoses. This same argument was raised by class members

950013395 and 950012548. By remanding the claims raised by class members

950013395 and 950012548, it appears clear that the Court agrees with Class

Members’ objection regarding the diagnosis date. To clarify the Court’s order and

simplify the issues for the appellate court, if an appeal becomes necessary, Class

Members respectfully request the Court amend its Order to clarify that the Court

sustains Class Members’ objection regarding the diagnosis date.

 II.     The Court should alter its order and remand the claims to be paid
         because it is clear error and a manifest injustice to require Class
         Members to exhume their loved ones’ bodies to confirm the
         board-certified neuropathologist’s CTE diagnosis.

      In their objections to this Court, Class Members explained that the Claim

Administrator clearly erred and created a manifest injustice by denying their claims

based on the fact that the board-certified neuropathologist did not require Class

Members to exhume their loved ones’ bodies so he could confirm his CTE diagnosis.



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    As a matter of law, there is no requirement in the settlement agreement that a

board-certified neuropathologist “confirm his diagnosis” by reviewing brain tissue.7

The settlement agreement simply requires a diagnosis, which Dr. Hamilton

provided.8 Dr. Hamilton is one of only a handful of board-certified neuropathologists

in the United States, and he provided a post-mortem diagnosis for each of the

Class Members that each of these Players was suffering from CTE when they died.

That CTE diagnosis is all the settlement agreement requires.9

    Allowing the Claims Administrator to add an arbitrary, after-the-fact requirement

that the Players’ bodies must be exhumed to confirm the board-certified

neuropathologist’s diagnoses is clear error because it ignores the terms of the

settlement agreement and violates Class Members’ due process rights.                   See

Hansberry v. Lee, 311 U.S. 32, 42 (1940); In re Diet Drugs Prods. Liab. Litig., 431

F.3d 141, 145 (3d Cir. 2005); see also Fed. R. Civ. P. 23(a)(4); In re Warfarin

Sodium Antitrust Litig., 391 F.3d 516, 534 (3d Cir. 2004); In re Gen. Motors Corp.


7   See Amended Settlement Agreement [ECF 6481] § 6.4(f).
8   See id.
9   See id. Notably, the settlement agreement plainly treats CTE diagnoses differently than
    other types of diagnoses, for which the settlement agreement requires specific and
    detailed procedures. See id. §§ 5.1–5.14 (creating the Baseline Assessment Program and
    exempting Death with CTE from the program), § 6.3(a)–(e) (requiring that certain
    diagnoses, other than Death with CTE, be made by certain physicians on an approved
    list); see also Exhibit 2 to the Amended Settlement Agreement (providing standardized
    neuropsychological testing protocols for determining certain diagnoses).



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Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 785 (3d Cir. 1995); Van

Gemert v. Boeing Co., 590 F.2d 433, 440 n.15 (2d Cir. 1978). Due process requires

that the notice of settlement fairly inform absent class members of the proposed

terms of a settlement agreement in sufficient detail to allow them to “make informed

decisions on whether they should take steps to protect their rights.” In re Baby

Prods. Antitrust Litig., 708 F.3d 163, 180 (3d Cir. 2013); see Mullane v. Central

Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)); Hansberry, 311 U.S. at 42;

Grunin v. Int’l House of Pancakes, 513 F.2d 114, 122 (8th Cir. 1975). Class action

procedures do not fairly protect the due process rights of absent class members when

the absent class members have not been provided meaningful notice and an adequate

opportunity to participate in the proceedings or opt out. Eisen v. Carlisle &

Jacquelin, 417 U.S. 156, 173 (1974) (discussing Mullane, 339 U.S. 306); Hansberry,

311 U.S. at 42; In re Diet Drugs Prods. Liab. Litig., 431 F.3d at 145–47. A notice

that does not inform absent class members of the fundamental reason they may want

to object to a settlement violates due process. See Eisen, 417 U.S. at 173–74 (quoting

Mullane, 339 U.S. at 314) (recognizing that “process which is a mere gesture is not

due process”).

   Additionally, allowing the Claims Administrator to add this exhumation

requirement creates a manifest injustice because many class members cannot satisfy

this post-opt-out requirement. Many class members are unable to agree to exhuming


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their loved ones’ bodies based on their religious or philosophical beliefs. And many

other class members are unable to satisfy this requirement because their loved ones’

remains may have been cremated or, for other reasons, no longer be in a condition

that allows testable brain tissue to be obtained.


                CONCLUSION & PRAYER FOR RELIEF

   Accordingly, for the reasons set forth above, the Court should grant this motion

and alter and amend the Court’s Order Denying their Objections [ECF 12001] as

described above.


Dated: March 24, 2023


                                         Respectfully Submitted:

                                         /s/ Justin Demerath

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                               950013608,       and
                               950013171




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